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WESTERN DlsTRICT on TENNESSEE '°`/ \0
Eastern Division `C`

    

UNITED STATES OF AMERICA 1 7_; U/S
"‘Y'ef
-vs- Case No. l:t]4crl(l%v

MATTHEW WHITLEY

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
ln accordance vvith the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed ata later date.

DlRECTIONS REGARD|NG DETENT|ON

MATTHEW WHITLEY is committed to the custody of the Attorncy General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal MATTHEW WHITLEY shall be afforded a reasonable opportunity for
private consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: August 30, 2005 § //MWM'\S @L¢~»'

S. THOMAS ANDERSON
UNITED STATES MAGESTRATE JUDGE

This document entered on the docket sheet ln compliance
with Ru|e 55 and/or 32(b) FF|CrP on

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Honorable J ames Todd
US DISTRICT COURT

